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Mapped, edited, and published by the Geological Survey @ Irrigation or camp supply SCALE 124000 Sheet Two (2) of E: ht (8) fe
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Land lines within Santa Margarita Y Las Flores grant

were established by private survey THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS

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